
The Court
was of opinion, that the verdict ought to be set aside “ as being uncertain and insufficient in not finding on the issue, that the appellant had goods and chattels, which were of the decedent at the time of his death, in his hands to be administered, more than sufficient to satisfy the judgments in the appellant’s plea set forth, whereof he could have satisfied the appellee’s demand, or the value of the said goods and chattels, if not sufficient to satisfy the said demand.”
Judgment reversed, verdict set aside, and the cause remanded.(1)

(1) Rogers' Adm. v. Chandler's Adm. 3 Munf. 66. Eppes' Adm. v. Smith, Adm, 4 Munf. 466.

